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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

REGINALD MARCOTTE,                 )
                                   )
      Plaintiff,                   )             Civil Action No.: 2:16-cv-14492
                                   )
      v.                           )             Judge: Kurt D. Engelhardt
                                   )
ENTERPRISE RECOVERY SYSTEMS, )                   Magistrate Judge: Janis van Meerveld
INC., NAVIENT SOLUTIONS, INC., and )
UNITED STUDENT AID FUNDS, INC. )
                                   )
      Defendants.                  )

         STIPULATION OF VOLUNTARY DISMISSAL PURSUANT TO
                         F.R.C.P. 41(a)(1)(A)(ii)

       IT IS HEREBY STIPULATED AND AGREED by and between the parties and
their respective counsel that the above-captioned action is voluntarily dismissed, with
prejudice in its entirety, and without fees or costs, pursuant to the Federal Rules of Civil
Procedure 41(a)(1)(A)(ii).


DATED: January 3, 2017                    RESPECTFULLY SUBMITTED,
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